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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


     ZEIKOS, INC.,                                        Civil Action No. 21-19993 (SDW)(JRA)

                               Plaintiff,

            v.                                            JOINT PROPOSED DISCOVERY PLAN

     WALGREEN CO.,

                               Defendant.


       1.    Set forth the name of each attorney appearing, the firm name, address and
             telephone number and facsimile number of each, designating the party
             represented.

             Attorneys for Plaintiff

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             Attorneys for Defendant

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      2.     Set forth a brief description of the case, including the causes of action and
             defenses asserted.

             This is a breach of contract case. Plaintiff alleges that defendant breached
             contracts with plaintiff by (i) failing to pay for goods sold and delivered, (ii)
             terminating one of the contracts early, and (iii) failing to perform, resulting in
             damages to plaintiff. Defendant has denied all of the allegations of breach and
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           has asserted certain affirmative defenses.

     3.    Preliminary settlement discussions have taken place. To date, neither party has
           made any specific demand or offer.

     4.    The parties have met pursuant to Fed. R. Civ. P. 26(f).

     5.    The parties have exchanged the information required by Fed. R. Civ. P. 26(a)(1),
           except the exchange of certain documents awaits the entry of a confidentiality
           order.

     6.    Other than the entry of the confidentiality order, the parties do not anticipate any
           issues with completing the disclosures required by Fed R. Civ. P. 26(a)(1).

     7.    The parties have not filed disclosures of third-party litigation funding. See Local
           Civil Rule 7.1.1.

     8.    The parties have not conducted discovery other than the above disclosures.

     9.    Proposed joint discovery plan:

           (a)    Discovery is needed on the following subjects:

                  (1)     The terms of the parties’ relevant contracts,

                  (2)     The parties’ respective performance, or breach, of those contracts,

                  (3)     Plaintiff’s damages, and

                  (4)     Defendant’s affirmative defenses.

           (b)    Discovery should not be conducted in phases or be limited to
                  particular issues.

           (c)    Proposed schedule:

                  (1)     Fed. R. Civ. P. 26 Disclosures completed, with
                          documents produced within 14 days of the entry of a
                          confidentiality order.

                  (2)     E-discovery conference pursuant to L. Civ. R. 26.1 is
                          completed.

                  (3)     Service of initial written discovery before April 29, 2022.

                  (4)     Maximum of 25 Interrogatories by each party to each other party.


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                      (5)    Maximum of 10 depositions to be taken by each party.

                      (6)    Motions to amend or to add parties to be filed by June 15, 2022.

                      (7)    Factual discovery to be completed by September 15, 2022.

                      (8)    Plaintiff’s expert report due on September 29, 2022.

                      (9)    Defendant’s expert report due on November 14, 2022.

                      (10)   Expert depositions to be completed by December 29, 2022.

                      (11)   Dispositive motions to be served within 45 days of completion of
                             discovery.

                (d)     There are no special discovery mechanism or procedure requested.

                (e)     A pretrial conference shall take place on a date that the Court shall
                        schedule.

                (f)    A jury trial may take place on a date that the Court shall schedule.

10.   The parties do not anticipate any special discovery needs. Some depositions may be
      taken virtually.

11.   The parties do not anticipate any issues relating to discovery of electronically-stored
      documents.

12.   The parties anticipate a Discovery Confidentiality Order (See L.R. 5.3(b) and Appendix
      S), which has been submitted.

13.   The parties do not anticipate any discovery issues that are not listed above.

14.   The parties believe that this case is not appropriate for voluntary arbitration
      (pursuant to Local Civil Rule 201.1 or otherwise). The parties prefer to not
      limit their procedural rights by subjecting this dispute to arbitration. This case
      may be appropriate for mediation (pursuant to Local Civil Rule 301.1 or
      otherwise) after some exchange of written discovery.

15.   This case is not appropriate for bifurcation.

16.   An interim status/settlement conference (with clients available by telephone) in
      attendance), should be held on a date that the Court shall schedule.

17.   We do not consent to the trial being conducted by a Magistrate Judge.



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18.   There are no other issues to address at the Rule 16 Scheduling Conference.




      Laura Scileppi, March 22, 2022



      Michael M. Yi, March 22, 2022




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